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                 16 TELECOMMUNICATIONS AMERICA, LLC

                 17
                                                    UNITED STATES DISTRICT COURT
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                                     NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                 19
                        APPLE INC., a California corporation,     CASE NO. 12-CV-00630-LHK (PSG)
                 20
                                      Plaintiff,                  SAMSUNG’S LIST OF EXHIBITS FOR
                 21                                               TRIAL
                               vs.
                 22                                               Place:        Courtroom 8, 4th Floor
                    SAMSUNG ELECTRONICS CO., LTD., a              Judge:        Honorable Lucy H. Koh
                 23 Korean business entity; SAMSUNG               Trial Date:   March 31, 2014
                    ELECTRONICS AMERICA, INC., a New
                 24 York corporation; SAMSUNG
                    TELECOMMUNICATIONS AMERICA,                   FILED UNDER SEAL
                 25 LLC, a Delaware limited liability company,
                 26                   Defendants.

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                                                                      SAMSUNG’S LIST OF EXHIBITS FOR TRIAL
     Case 5:12-cv-00630-LHK Document 1267-3 Filed 02/13/14 Page 2 of 2




 1          Pursuant to the January 24, 2014 Case Management Order (Docket No. 1158), Defendants

 2 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc. and Samsung Telecommunications

 3 America, LLC (collectively “Samsung”) submit herewith as Exhibit A Samsung’s list of exhibits for

 4 trial.

 5

 6 DATED: February 13, 2014                 QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
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 8
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13                                               SAMSUNG ELECTRONICS CO., LTD.,
                                                 SAMSUNG ELECTRONICS AMERICA, INC.,
14                                               and SAMSUNG TELECOMMUNICATIONS
                                                 AMERICA, LLC
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                                                          SAMSUNG’S LIST OF EXHIBITS FOR TRIAL
